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                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                      CASE NO.: 16-CV-21502-LENARD/GOODMAN

  ALEJANDRO AGUSTIN AMODEI,

        Plaintiff,
  vs.

  FLORIDA BEAUTY EXPRESS, INC.,
  and RALPH MILMAN,

        Defendants.
                                     /

                DEFENDANTS’ AMENDED OPPOSITION TO PLAINTIFF’S
                        MOTION FOR ATTORNEY’S FEES
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         Plaintiff’s counsel (Mr. Zidell) demands a fee of $21,624.50, which is outrageous and in

  bad faith.1 This case concerns only one claim under the FLSA for unpaid overtime wages.

  There were no depositions. There were no hearings. There were no discovery requests before

  defendant served its offer of judgment. In fact, Plaintiff served discovery for the first time more

  than five hours after Mr. Zidell received the offer of judgment. The only compensable work

  Mr. Zidell’s law firm performed is as follows:

         (1)     Draft a one-count complaint;

         (2)     Partly draft a joint scheduling report;

         (3)     Partly draft two one-page joint motions for extension of time [DE 27 and 36];

         (4)     Attend a 3-hour judicial settlement conference; and

         (5)     Very brief settlement discussions with the Court and opposing counsel after the

                 judicial settlement conference and culminating in defendant’s offer of judgment.

         Mr. Zidell’s law firm repeatedly attempted to extort an exorbitant fee payout.

  Mr. Zidell’s law firm refused to answer reasonable inquiries as to the magnitude of its fees/costs

  so defendants could globally settle damages and fees/costs. Because Mr. Zidell refused to

  disclose how much are his fees/costs to settle, defendant made an offer of judgment. At that

  point, Mr. Zidell exaggerated his legitimate fees while threatening more fee liability if

  defendants dared to challenge the exaggerated fee demand. This abused the judicial process. In

  other words, Mr. Zidell grossly exaggerated his fee demand, and then used that exaggeration as a

  weapon to extort more fees from defendants. He and his associate repeatedly threatened that

  defendants would face the danger of increasing liability consisting of “fees for the effort of


  1
    The attached spreadsheet (Exhibit 1 hereto) assigns a number to each time entry Mr. Zidell
  submitted and includes defendants’ objections to facilitate the Court’s review. The original
  content of Mr. Zidell’s time entries is preserved in the attached spreadsheet.



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  recovering fees.” They also threatened it would cost defendants much more to defend against the

  fee motion than to pay his exorbitant fee demand. As an officer of the Court and an 18-year

  veteran attorney specializing in FLSA practice, Mr. Zidell knew or should have known he was

  not acting reasonably. He was attempting to coerce defendants into paying an inflated fee.

  Mr. Zidell’s law firm’s extortion attempts are attached hereto as Exhibit “2.” Despite his clear

  bad faith, Mr. Zidell will likely seek additional fees to review this Opposition and draft a reply

  brief. Mr. Zidell’s outrageous and bad faith fee demand required defendants to spend substantial

  time ferreting out Mr. Zidell’s bad faith fee entries and explaining his bad faith to the Court.

  Mr. Zidell should not be rewarded with any more fees for causing such effort.

          This Opposition is organized into two parts. Part I addresses Mr. Zidell’s and his law

  firm’s bad faith litigation tactics and explains why Mr. Zidell’s fee demands should be denied

  entirely.   Part II alternatively argues that Mr. Zidell’s unreasonable fee demand must be

  substantially reduced, after the Court excludes non-compensable work from the lodestar, because

  of his bad faith and because his degree of success was only 18% of plaintiff’s damage demand.

                                    FACTUAL BACKGROUND

          Plaintiff filed his complaint [DE 1] on April 28, 2016. On May 20, plaintiff filed his

  statement of claim [DE 8] seeking $41,277.50 as damages. Shortly thereafter, defendants filed

  two unopposed motions for extension [DE 10 and 16] to respond to the complaint. Defendants

  filed their answer [DE 18] on June 17. The parties filed two one-page joint motions [DE 27 and

  36] for extensions to complete a judicial settlement conference, i.e., on July 5 and July 29.

          On September 16, 2016, the parties attended a judicial settlement conference [DE 41],

  which lasted 3 hours. Thereafter, the parties engaged in brief settlement discussions.




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         On September 27, 2016 at 1:15 p.m., defendant served by email the offer of judgment

  that plaintiff ultimately accepted (Exhibit 3 hereto and DE 47).

         Before serving the offer of judgment, defendant attempted to globally resolve the

  damages and fees/costs at issue, which are detailed here. On September 19, Mr. Zidell’s law

  firm offered to globally settle for $22,500, i.e., inclusive of damages and attorneys’ fees/costs.

  Counsel Emails (Exhibit 2 hereto) at p. 5. On September 20, the undersigned counsel asked Mr.

  Zidell’s law firm, “[o]f your $22,500 offer, how much is apportioned to fees/costs …?” Id. at

  p. 4. Mr. Zidell’s law firm refused to answer and instead confirmed, “[t]he $22,500 is a global

  offer.” Id. The undersigned counsel then again inquired, “what are the fees/costs you seek in

  connection with your $22,500 offer.” Id. Mr. Zidell’s law firm again refused to answer and

  asked, “[w]hat are your fees and costs to date? Ours are obviously higher.” Id. at p. 3. The

  undersigned counsel then confirmed, “I take it from your answer that you refuse to disclose your

  fees/costs as a component of your $22,500 global settlement offer.” Id. As punishment for

  inquiring about its fees/costs, Mr. Zidell’s law firm immediately thereafter increased the

  settlement offer from a “global” settlement of $22,500 to $22,500 plus fees: “I am renewing the

  settlement demand of $22,500 … and we can let the Court decide our fees.” Id. at p. 2.

         Twenty minutes after defendant served its offer of judgment, Mr. Zidell’s law firm

  emailed the undersigned counsel asking “[h]ow much would your client be willing to put on the

  table for fees and costs to avoid us filing a Motion for same as we would be entitled to fees on

  fees for this.” Counsel Emails (Exhibit 2 hereto) at p. 7 (emphasis added). The undersigned

  counsel responded stating, “I have asked you repeatedly for your fees/costs to date so we may

  settle this case. You have refused to disclose anything. I do not consider your doing this to be in

  good faith. It simply runs up attorney's fees for no valid reason.” Id.




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          After defendant emailed its September 27 offer of judgment, plaintiff engaged in needless

  case activity. Over 5 hours after defendant served its offer of judgment, Mr. Zidell’s law firm

  served plaintiff’s first set of discovery requests. Discovery (Exhibit 4 hereto) at p. 1. That same

  day, Mr. Zidell’s law firm emailed a redundant notice of depositions even though Mr. Zidell’s

  law firm had already served a notice of deposition the previous month. Id. at p. 2-6.

          Plaintiff accepted the offer of judgment on October 10, 2016 [DE 47].

          On October 11, Mr. Zidell’s law firm offered to settle his fee/cost demand for an

  unreasonable $12,500. Counsel Emails (Exhibit 2 hereto) at p. 12. In good faith, defendants

  offered to settle Mr. Zidell’s fee/cost demand for $5,500 on October 13 and raised their offer to

  $6,800 on October 24. Id. at pp. 9-10. Despite numerous emails and telephone calls, neither

  Mr. Zidell nor any of his associates ever reduced the unreasonable fee demand of $12,500.

  Instead, Mr. Zidell threatened that “time spent litigating ‘fees on fees’ is compensable. So, come

  back to us with at least a close number to $12,500 for fees and costs before we have to file the

  motion.” Id. at p. 10. After a 7-minute telephone conference between counsel on December 7,

  Mr. Zidell’s law firm refused to lower the unreasonable fee demand and instead repeated the

  threat: “It obviously is going to cost your client in fees to litigate the fee motion.” Id. at p. 14.

          Thereafter, Mr. Zidell’s law firm filed a meritless motion to strike defendants’ notice of

  settlement [DE 50] even though the case settled by plaintiff’s acceptance of the offer of

  judgment. The Court denied the motion as moot [DE 56].

          Defendant has already paid the full amount of (1) plaintiff’s demanded costs of $980 and

  (2) the $7,500 damages amount of the offer of judgment.

          Now Mr. Zidell’s fee motion demands an exorbitant $21,624.50 in fees.




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                                           ARGUMENT

  I.     Mr. Zidell’s bad faith strongly supports a complete denial of fees.

         Mr. Zidell and his law firm have treated their motion for fees as an opening bid in fee

  negotiations with the Court. Mr. Zidell and his law firm’s billing misconduct caused substantial

  damage to defendants because it forced defendants to wade through Mr. Zidell’s 109 billing

  entries to show the Court the numerous entries that are grossly excessive and made in bad faith.

  Defendants have paid plaintiff himself in full under the Offer of Judgment, and have paid in full

  Mr. Zidell’s demanded costs. As an officer of the Court, Mr. Zidell’s own fees are at issue here,

  not his client’s fees. Mr. Zidell abused his position as an officer of court by making an

  exorbitant fee demand, and by trying to get that demand paid by threatening enhanced fee

  liability to himself. Mr. Zidell seeks to punish defendants because they oppose his fee demand as

  excessive, unfair, and unjust. In addition, Mr. Zidell abused his position as an officer of the

  Court by demanding an inflated fee while threatening that defendants will need to spend more to

  defend against this injustice than pay him something he never earned.

         There is no way that Mr. Zidell’s demand for over $21,000 in fees is reasonable,

  especially because defendant served its offer of judgment before any discovery was served.

  Neither party in this case appeared for any hearings, answered any discovery requests, or

  conducted any depositions. In other words, there was almost no work done in this case. In

  addition, Mr. Zidell concedes (DE 60 at p. 4) that he “has been primarily handling FLSA cases,

  similar to the instant lawsuit, for approximately 18 years.” He could have resolved this case

  efficiently, but refused to do so. In view of his extensive experience with the FLSA, Mr. Zidell’s

  fee demand shows a complete lack of candor as to legitimate billing. Rodriguez v. Marble Care

  Int'l, Inc., 863 F. Supp. 2d 1168, 1188 (S.D. Fla. 2012) (“[A] fee applicant must exercise sound

  ‘billing judgment’ and eliminate time entries that are excessive or unnecessary”).


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         The Court should not award any fees to Mr. Zidell because his fee demand exhibits bad

  faith, i.e., a special circumstance rendering any fee award to Mr. Zidell unjust. Newman v.

  Piggie Park Enters., Inc., 390 U.S. 400, 401-03, 88 S. Ct. 964, 966-67 (1968) (finding that a

  prevailing Title II plaintiff “should ordinarily recover an attorney’s fee unless special

  circumstances would render such an award unjust”); Goss v. Killian Oaks House of Learning,

  248 F. Supp. 2d 1162, 1168 (S.D. Fla. 2003) (“There are ‘special circumstances’ that can render

  such an award of attorney's fees unjust”). Mr. Zidell believes he can “start high” in his bid for

  attorneys’ fees, and even if the Court were to award a smaller fee, Mr. Zidell would still be paid

  more than his legitimate billable time. “When faced with such an absurdly excessive fee request

  [under the FLSA] … the court may be justified in simply denying the request summarily. …

  There is no point in requiring defendants to spend time or money responding to this motion.”

  Coan v. Nightingale Home Healthcare, No. 1:05-cv-0101-DFH-TAB, 2006 U.S. Dist. LEXIS

  78672, at *3 (S.D. Ind. Oct. 27, 2006). “[A]n entitlement to attorney’s fees [under the FLSA]

  cannot be a carte blanche license for Plaintiffs to outrageously and in bad faith run up attorney

  fees without any threat of sanction.” Goss, 248 F. Supp. 2d at 1168. “Courts are not authorized

  to be generous with the money of others.” ACLU v. Barnes, 168 F.3d 423, 428 (11th Cir. 1999).

  Even if the Court were to reduce Mr. Zidell’s fee by 80%, the reduced award (i.e., $4,324.90)

  would be excessive. A reasonable fee with the minimal legitimate work performed would have

  been about $2,500.     Due to Mr. Zidell’s out-of-the-ballpark fee demand, and the wasted

  resources of the Court and defendants in ascertaining the lack of merit in the fee demand, the

  Court, respectfully, should award no fees.

         While the FLSA’s fee award provision is mandatory, as opposed to the discretionary fee

  provision under 42 U.S.C. § 1988, review of case law addressing “shake down” fee demands




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  under § 1988 would assist the Court because they address bad faith as a “special circumstance”

  to deny a fee award. Case law on comparable fee demands under 42 U.S.C. § 1988 has held that

  if “the Court were required to award a reasonable fee when an outrageously unreasonable one

  has been asked for, claimants would be encouraged to make unreasonable demands, knowing

  that the only unfavorable consequence … would be reduction of their fee to what they should

  have asked for in the first place.” Lewis v. Kendrick, 944 F.2d 949, 958 (1st Cir. 1991)

  (reversing fee award to a prevailing plaintiff under 42 U.S.C. § 1988); Fair Hous. Council v.

  Landow, 999 F.2d 92, 96-97 (4th Cir. 1993) (reversing fee award to a prevailing plaintiff under

  42 U.S.C. § 1988: “we think the FHC’s argument would encourage fee requests which are

  nothing more than ‘an opening [bid] in negotiations to reach an ultimate result.’ District Courts

  are not open to such gaming on the part of litigants”). “[A]n award of attorney’s fees is

  compensatory, not punitive, and we will not allow a threat of paying the opposing party’s

  unreasonable legal fees to chill the assertion of a defense of a claim. … [F]ee awards should not

  serve as a vehicle to charge exorbitant fees.” Peter v. Jax, 187 F.3d 829, 838 (8th Cir. 1999)

  (affirming denial of fee demand of plaintiff under 42 U.S.C. § 1988).

            A.     17.2 hours ($5,863) to coerce an exaggerated “fee” payout is in bad faith.2

            Before plaintiff accepted the offer of judgment [DE 47], Mr. Zidell’s law firm offered to

  settle plaintiff’s case for $22,500 inclusive of attorneys’ fees and costs (Exhibit 2 hereto at p. 5).

  The undersigned counsel thereafter asked Mr. Zidell’s law firm how much of the $22,500 offer

  was apportioned to fees/costs. Exhibit 2 hereto at p. 4. That inquiry was reasonable because

  “counsel for the claimant must first disclose the extent to which the FLSA claim has or will be

  compromised by the deduction of attorney’s fees …. It is the Court’s responsibility to ensure that


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      Fee Entries (Exhibit 1 hereto) at Nos. 50-51, 53, 66, 74-76, 79, 81-84, 86, 89-90, 92-95, 98-109.



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  any such allocation is reasonable.” Liberatore v. AAA Disc. Water Outlet-the Waterman, Inc.,

  No. 6:16-cv-588-Orl-28GJK, 2016 U.S. Dist. LEXIS 176296, at *4-5 (M.D. Fla. Dec. 20, 2016);

  Rodriguez v. Fuji Sushi, Inc., No. 6:08-cv-1869-Orl-22KRS, 2009 U.S. Dist. LEXIS 43487, at

  *11 (M.D. Fla. May 21, 2009) (“[A]n inherent conflict exists in FLSA settlements when the

  plaintiff’s attorney negotiates both the plaintiff’s award and his own fee”). Mr. Zidell’s law firm,

  however, refused to answer. Instead, it reaffirmed that “the $22,500 is a global offer,” i.e.,

  inclusive of fees and costs. Exhibit 2 hereto at p. 4. The undersigned counsel thereafter again

  asked, “what are the fees/costs you seek in connection with your $22,500 offer.” Id. As

  punishment for inquiring about its fees/costs, Mr. Zidell’s law firm immediately increased its

  offer from a “global” settlement of $22,500 to $22,500 plus attorneys’ fees as determined by the

  Court. Id. at p. 2. It is clear, therefore, that Mr. Zidell’s fee demands have nothing to do with the

  actual time he spent in this case. Instead, Mr. Zidell and his law firm have abused the judicial

  process to extort as large a payout as possible regardless of whether it is reasonable. Mr. Zidell

  now demands 2.3 hours in fees3 for that bad faith negotiation tactic, which include 0.6 hours for

  an “inter-office meeting” regarding its bad faith extortion attempts, and 0.5 hours to “review”

  related emails.

         The day after plaintiff accepted the offer of judgment [DE 47], Mr. Zidell and his law

  firm began to make multiple telephone calls and send multiple unnecessary emails to attempt to

  “settle” their unreasonable fee demand of, at the time, $12,500. Despite multiple emails and

  telephone calls, neither Mr. Zidell nor any of his associates ever offered to lower their

  unreasonable fee demand. Instead, Mr. Zidell and his law firm demanded an unreasonable



  3
    Fee Entries (Exhibit 1 hereto) at Nos. 50-51, 53, 74 (because the time entries are block-billed, it
  is impossible to determine with any precision how much time was spent on each discreet task).



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   $12,500 in fees under threat that it would be more expensive for defendants to defend against

   Mr. Zidell’s bad faith fee motion. This was an abuse of the judicial process. The FLSA was not

   intended to allow plaintiffs’ counsel to coerce an exorbitant “fee” payout by threatening to file

   unreasonable fee motions that would be costly to defend against. Mr. Zidell now demands an

   exaggerated 12.4 hours4 for his and his law firm’s multiple bad faith emails and telephone calls

   made after plaintiff’s acceptance of the offer of judgment.

          As further example of bad faith churning, Mr. Zidell’s associate conducted a 7-minute

   telephone conversation with defendants’ counsel at 9 a.m. on December 7, 2016. Immediately

   after the conference (at 9:07 a.m.), defendants’ counsel emailed Mr. Zidell’s law firm (Exhibit 2

   hereto at p. 14) to confirm the telephone conversation: “Pursuant to my telephone conversation

   with Rivkah this morning at 9am, we believe your demanded fees are exaggerated and done in

   bad faith.” Mr. Zidell’s law firm responded with the same bad faith attempt to coerce an

   unreasonably high payout: “It obviously is going to cost your client in fees to litigate the fee

   motion.” Counsel Emails (Exhibit 2 hereto) at p. 14. Mr. Zidell managed to stretch that 7-

   minute telephone call into a 1.1-hour5 fee demand: Mr. Zidell’s associate billed an unreasonable

   0.6 hours to “prepare” for and conduct that 7-minute conference, while Mr. Zidell billed an

   additional 0.5 hours to meet with his associate and “discuss call with opposing counsel.” Such

   bad faith churning should not be rewarded with any fee award.

          B.      8.6 hours for unfiled conversion claim was in bad faith.6

          Plaintiff never asserted a conversion claim in this case, is not a prevailing party for a

   conversion claim, and there is no entitlement for fees for a conversion claim even if it were pled.

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     Fee Entries (Exhibit 1 hereto) at Nos. 75, 76, 79, 81-84, 86, 89, 90, 92-95, 98-100, 102-104,
   106-108.
   5
     Fee Entries (Exhibit 1 hereto) at Nos. 107-108.
   6
     Fee Entries (Exhibit 1 hereto) at Nos. 2, 38, 43, 47, 52, 64-65.



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   Mr. Zidell knows this. However, Mr. Zidell and his law firm nonetheless demand in their fee

   motion 8.6 hours in fees relating to plaintiff’s unpled conversion claim. This is bad faith.

             C.     17 hours for unnecessary meetings between Mr. Zidell’s law firm and
                    plaintiff was in bad faith.7

             Plaintiff’s Complaint [DE 1] asserted one count for unpaid overtime. As Mr. Zidell

   concedes [DE 60 at p. 4], Mr. Zidell’s law firm “has been primarily handling FLSA cases,

   similar to the instant lawsuit, for approximately 18 years.”          Despite Mr. Zidell’s years of

   experience and the simplicity of this case, Mr. Zidell now demands an exorbitant 19 hours to

   meet with his client, when at most 2 hours would be reasonable and 17 hours would be

   excessive. No economically rational person of means would pay for 19 hours of meetings in the

   context of this one count FLSA overtime claim. “[A] lawyer may not be compensated for hours

   spent on activities for which he would not bill a client of means … the economically rational

   person engages in some cost benefit analysis.” Norman v. Hous. Auth. of Montgomery, 836 F.2d

   1292, 1301 (11th Cir. 1988).

             D.     6 hours to “finalize” an unnecessary, agreed-to motion for costs was
                    demanded in bad faith.8

             Mr. Zidell’s law firm demands in bad faith 6 hours to “[f]inalize cost motion” on

   November 14, 2016. That is outrageous not only because 6 hours is excessive for a simple cost

   motion that seeks only $980 in costs, but also because at 9:49 a.m. on November 14, Mr. Zidell’s

   law firm stated, “Our Cost Motion is due on Friday [i.e., November 18] …. Please let me know if

   Defendants’ oppose,” and the undersigned counsel confirmed via email at 10:06 a.m. that same

   day (i.e., 17 minutes later) that defendant “agrees to pay the $980 demanded costs.” Costs

   Motion Emails (Exhibit 5 hereto) at p. 1. No reasonable person would pay 6 hours to an attorney

   7
       Fee Entries (Exhibit 1 hereto) at Nos. 2, 29, 39-42, 46-47, 49, 52, 60-62, 64-65, 68, 71-72, 85.
   8
       Fee Entries (Exhibit 1 hereto) at No. 96.



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   to “finalize” a motion that is agreed to by the opposing party and would recover only $980 in

   costs, especially when 6 hours of attorney time (at $260/hour for Mr. Zidell’s associate attorney)

   exceeds the costs. In addition, Mr. Zidell filed his motion for costs at 11:32 a.m. on November

   14 (Exhibit 5 hereto at p. 2). To work 6 hours on that motion, Mr. Zidell’s law firm would have

   had to begin working at 5:32 a.m. on November 14 and work non-stop until 11:32 a.m. This is

   clearly a fabrication in bad faith.

             E.     1.8 hours for frivolous motion to strike [DE 50] was in bad faith.9

             To further churn as many fees as possible in this case, Mr. Zidell’s law firm vexatiously

   moved to strike the undersigned counsel’s notice of settlement [DE 50] after plaintiff accepted

   the offer of judgment [DE 47], i.e., after the parties indisputably settled plaintiff’s FLSA claim.

   To cause even more litigation, Mr. Zidell’s motion [DE 50 at p. 2] demanded that final judgment

   be entered against both defendants, jointly and severally, despite the fact that the accepted offer

   of judgment was limited solely to Florida Beauty Express, Inc., and not against defendant Ralph

   Milman. The Court denied [DE 56] plaintiff’s meritless motion as moot. Despite its lack of

   merit, Mr. Zidell now improperly seeks 1.8 hours in fees for that motion.

   II.       Alternatively, if the Court were to award fees, Mr. Zidell’s fee demand must be
             reduced by 90% (after removing non-compensable entries) to reflect his bad faith,
             limited degree of success, block-billed time entries, and excessive fees.

             Mr. Zidell and his law firm’s bad faith is a special circumstance that strongly supports a

   denial of any fee award. However, if the Court were to award fees to Mr. Zidell, fees for non-

   compensable tasks must be removed from Mr. Zidell’s lodestar, and thereafter Mr. Zidell’s fee

   award should be reduced by 90% because of his bad faith, extremely limited degree of success,

   block-billed time entries, and excessive fees.


   9
       Fee Entries (Exhibit 1 hereto) at Nos. 77-78, 80.



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             Part II.A herein identifies non-compensable time that must be removed from Mr. Zidell’s

   lodestar. Part II.B herein argues that the Court should apply an across-the-board reduction to

   Mr. Zidell’s lodestar (after removing non-compensable fees) to reflect Mr. Zidell’s limited

   degree of success, bad faith, exaggerated billing, block-billed entries, and duplicative entries.

   Part II.C argues that Mr. Zidell’s rates are excessive and provides a calculation for a fee award.

             A.     32.15 hours ($12,805) for unnecessary, clerical, or otherwise non-
                    compensable tasks should be removed from Mr. Zidell’s lodestar.

             Before applying an across-the-board reduction to the lodestar, the Court should exclude

   32.15 non-compensable hours from the lodestar calculation. Brandt v. Magnificent Quality

   Florals Corp., 2011 U.S. Dist. LEXIS 113195, at *33-35 (S.D. Fla. Sept. 30, 2011) (“[I]n

   addition to adjusting the number of hours used to calculate the lodestar, the Court may apply an

   after-the-fact reduction of the lodestar”).

                            4.35 hours ($3,770) for clerical tasks must be excluded.10

             Mr. Zidell cannot bill 4.35 hours ($3,770) for non-compensable clerical work. By way of

   example, Mr. Zidell seeks 0.3 hours to scan and file summonses; 0.4 hours only to email

   plaintiff’s Confidential Settlement Conference Statement to the Court and an additional 0.3

   hours to email that same Statement to the undersigned counsel; 0.3 hours to “[a]ttempt to reach

   opposing counsel … via phone”; 0.3 hours for “email correspondence with opposing counsel

   regarding setting time to have telephone conference”; and 0.3 hours for “email correspondence

   with opposing counsel regarding setting time to have telephone conference. Coordinated date

   and time, internally calendared.”11 Case law bars billing for such clerical work. Machado v. Da

   Vittorio, LLC, 2010 U.S. Dist. LEXIS 84047, at *7 (S.D. Fla. July 26, 2010) (“coordinating


   10
        Fee Entries (Exhibit 1 hereto) at Nos. 7, 14, 17, 29, 34, 36-37, 39, 66, 73, 102-104, 106.
   11
        Fee Entries (Exhibit 1 hereto) at Nos. 14, 36, 37, 66, 104, 106.



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   schedules” and “basic communications” cannot be billed as fees); Peress v. Wand, 597 F. Supp.

   2d 1320, 1325 (S.D. Fla. 2009) (“e-filing” not billable attorney’s fee); Edwards v. CFI Sales &

   Mktg., 2012 U.S. Dist. LEXIS 126089, at *24 (M.D. Fla. Aug. 20, 2012) (“contacting court

   reporters, … mailing, filing, and delivering documents is not compensable”).

             Although Mr. Zidell also demands fees for an additional 31 time entries (for 12.5 hours)

   that include non-compensable clerical tasks, those additional entries are block-billed with other

   tasks. It is therefore impossible to ascertain how much time Mr. Zidell demands for those non-

   compensable block-billed tasks. As explained further below, those block-billed entries support a

   substantial across-the-board reduction to Mr. Zidell’s fee demand.

                            0.5 hours ($130) for redundant deposition notice must be excluded.12

             Mr. Zidell’s law firm drafted and served plaintiff’s notice of taking deposition of

   defendants on August 12, 2016 (Exhibit 4 hereto at pp. 5-6). However, on September 27, 2016,

   Mr. Zidell’s law firm again “drafted” and served a redundant notice of deposition with the

   identical areas of inquiry and boilerplate wording (Exhibit 4 hereto at pp. 2-4).          For that

   redundant notice, Mr. Zidell demands fees. That cannot be rewarded.

                            1.7 hours ($533) for false return of service on Mr. Milman must be
                            excluded.13

             Mr. Zidell filed a verified proof of service [DE 12] falsely asserting personal service on

   defendant Ralph Milman. Mr. Milman never received personal service of plaintiff’s summons or

   complaint. Mr. Zidell’s false return of service caused the Court to enter an Order [DE 15]

   requiring a motion for default as to Mr. Milman. Immediately after receiving the Court’s Order

   [DE 15], defendants’ counsel contacted Mr. Zidell’s law firm to confer about the Order [DE 12]


   12
        Fee Entries (Exhibit 1 hereto) at No. 59.
   13
        Fee Entries (Exhibit 1 hereto) at Nos. 12-14, 16, 25.



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   and a motion for extension of time to respond to the complaint. Mr. Zidell’s law firm stated it

   had no objection only if defendants agree not to challenge service of process. Mr. Zidell’s law

   firm repeatedly (via telephone and emails) confirmed that defendants will not challenge service

   of process and dedicated 3 different time entries14 confirming defendants’ “non-challenge to

   service.” Thereafter, Mr. Zidell filed another return of service for Mr. Milman purporting to

   serve Mr. Milman via substitute service at Mr. Milman’s place of business. That is not proper

   service. Fed. R. Civ. P. 4(e) (“[A]n individual … may be served in a judicial district of the

   United States by: … leaving a copy of each at the individual’s dwelling or usual place of abode

   with someone of suitable age and discretion who resides there”); Fla. Stat. § 48.031(1)(a)

   (“Service of original process is made by … leaving the copies at his or her usual place of

   abode”). It appears Mr. Zidell’s law firm knew that the return of service was invalid, and

   therefore wanted to make sure defendants will not challenge service. Mr. Zidell’s law firm now

   demands 1.7 hours in fees related to its invalid return of service, which should be excluded and,

   under the circumstances, constitutes bad faith.

             As a courtesy, the undersigned counsel emailed Mr. Zidell explaining that the return of

   service reflecting personal service on Mr. Milman was wrong and Mr. Zidell should correct this

   practice within his firm in the future. To review that courtesy email, Mr. Zidell now demands

   0.6 hours in fees. This too should be excluded from compensable time.

                            8.6 hours ($2,769) for unfiled conversion claim must be excluded.15

             As explained above (in Part I.B), Mr. Zidell cannot bill for an unfiled conversion claim.




   14
        Fee Entries (Exhibit 1 hereto) at Nos. 12, 16, 25.
   15
        Fee Entries (Exhibit 1 hereto) at Nos. 2, 38, 43, 47, 52, 64-65.



                                                      14
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                             17 hours ($5,603) for unnecessary meetings with plaintiff must be
                             excluded.16

              As explained above (Part I.C), Mr. Zidell cannot bill a total of 19 hours to meet with

   plaintiff. Based on Mr. Zidell’s substantial experience litigating cases like this one and the

   simplicity of this case, Mr. Zidell can, at most, bill 2 hours to meet and confer with his client.

              B.     Mr. Zidell’s lodestar should be reduced by 90% to reflect Mr. Zidell’s
                     extremely limited degree of success, bad faith, exaggerated billing.

              After non-compensable time is removed from Mr. Zidell’s lodestar, the Court should

   apply an across-the-board reduction of 90% to Mr. Zidell’s fee demand because of his extreme

   bad faith and his limited degree of success due to the recovery of about 18% of plaintiff’s

   damages demand. The basis for the bad faith reduction has already been addressed, and this

   section will address reductions for limited degree of success and excessive and block-billed

   entries.

                             Mr. Zidell’s extremely limited degree of success warrants a 90%
                             reduction to his lodestar amount

              Controlling precedent makes clear that “the most critical factor” in adjusting a fee award

   is “the degree of success obtained.” Bivins v. Wrap It Up, Inc., 380 Fed. App’x 888, 891 (11th

   Cir. 2010); Hensley v. Eckerhart, 461 U.S. 424, 436 (1983). “A reduction is appropriate if the

   relief, however significant, is limited in comparison to the scope of the litigation as a whole.”

   Norman v. Housing Authority of Montgomery, 836 F.2d 1292, 1302 (11th Cir. 1988). “[I]n

   addition to adjusting the number of hours used to calculate the lodestar, the Court may apply an

   after-the-fact reduction of the lodestar where the Plaintiff achieved only partial or limited

   success, and this is true even where the Plaintiffs’ claims are … non-frivolous and raised in good

   faith.” Brandt, 2011 U.S. Dist. LEXIS 113195, at *33-35; Maciejczyk, 2013 U.S. Dist. LEXIS

   16
        Fee Entries (Exhibit 1 hereto) at Nos. 2, 29, 39-42, 46-47, 49, 52, 60-62, 64-65, 68, 71-72, 85.



                                                      15
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   184998, at *12 (reducing the lodestar amount by 30% to reflect the degree of success after

   applying a 50% across-the-board reduction to the number of hours requested).

          Mr. Zidell’s law firm attained an extremely limited degree of success, which strongly

   supports a substantial reduction in its lodestar amount after the Court excludes non-compensable

   time. Plaintiff was awarded $7,500 in damages [DE 55]. That is only 18% of the $41,277.50

   plaintiff originally demanded [DE 8].    Such a limited degree of success warrants an 90%

   reduction in Mr. Zidell’s fee award, if any. Popham, 820 F.2d at 1581 (reducing the lodestar by

   67% based on the attorney’s limited degree of success); Brandt, 2011 U.S. Dist. LEXIS 113195,

   at *37-38 (reducing the lodestar by 70% based on the attorney’s limited degree of success after

   excluding non-compensable hours).

                         Mr. Zidell’s fee demand should be substantially reduced because of
                         unreasonably excessive fee entries and block-billed entries

          Mr. Zidell’s law firm submitted a total of 109 time entries, the majority of which are

   excessive and block-billed. An hour-by-hour analysis of Mr. Zidell’s unreasonable fee demands

   would be overly burdensome because his fee entries lump together discrete tasks and make it

   impossible to determine how much time was spent on each task. The Court therefore should

   reduce Mr. Zidell’s fees by 90% after deducting non-compensable hours from the lodestar.

                         a.     Mr. Zidell’s grossly exaggerated billing requires an across-the-
                                board reduction to its lodestar.

          An FLSA “plaintiff must always attempt to litigate a matter in the most efficient means

   possible.”   Simon v. Leaderscape LLC, 565 F. Supp. 2d 1332, 1336 (S.D. Fla. 2008).

   “Attorney’s fees arising from hours that are excessive ... should be excluded from an award of

   attorney’s fees.” Machado, 2010 U.S. Dist. LEXIS 84047, at *4-5. Mr. Zidell specializes in

   FLSA cases and has 18 years of experience litigating FLSA claims. If any attorney can litigate

   an FLSA case efficiently, Mr. Zidell can. Despite his obligation to exercise billing judgment,



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   Mr. Zidell has billed unreasonably excessive fees. The following is a representative sample to

   aid the Court’s determination.

             As explained above (Part I.D), Mr. Zidell demands an exorbitant 6 hours to “[f]inalize

   cost motion” on November 14, 2016, which is outrageous exaggerated in bad faith.

             Separate from his exaggerated demand for 4.4 hours17 to meet with his client to prepare

   for the judicial settlement conference in this case, he also demands an exorbitant 4.1 hours to

   meet with his associates to prepare for the settlement conference, an additional 0.5 hours to

   “attempt” to contact plaintiff to discuss the settlement conference, an additional 1.6 hours

   allegedly to schedule the settlement conference, and an additional 1.6 hours to supposedly

   confer with the undersigned counsel regarding the settlement conference.18 In total, Mr. Zidell

   demands an outrageous 12.2 hours to confer with his client, his associates, and the undersigned

   counsel in preparation for the 3-hour settlement conference. That is not reasonable.

                            b.      Mr. Zidell’s fees should be reduced for block-billing, redacted,
                                    and vague billing.

             “[T]he fee applicant … must supply the court with ‘specific and detailed evidence’ in an

   organized fashion. … Where the documentation is inadequate, the court may reduce the award

   accordingly.” Reppert v. Mint Leaf, Inc., 2013 U.S. Dist. LEXIS 17105, at *5 (S.D. Fla. Jan. 31,

   2013); Hensley, 461 U.S. at 437 (party must “maintain billing time records in a manner that will

   enable a reviewing court to identify distinct claims”). Block-billed, redacted, and vague time

   entry descriptions support an across-the-board fee reduction. Machado, 2010 U.S. Dist. LEXIS

   84047, at *9-12 (reducing two groups of block-billed entries by 50% and 75% respectively);




   17
        Fee Entries (Exhibit 1 hereto) at Nos. 39-41, 46.
   18
        Fee Entries (Exhibit 1 hereto) at Nos. 34, 38, 43-45, 48.



                                                      17
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   Estrada v. Alexim Trading Corp., 2012 U.S. Dist. LEXIS 138194, at *31 (S.D. Fla. Sept. 26,

   2012) (30% reduction to billed hours due to block-billing).

          Mr. Zidell submitted 78 block-billed entries for 53.7 hours.19 For example, the 0.6-hour

   July 15, 2016 entry20 contains 5 distinct tasks, but does not specify how much time was spent on

   each task: (1) “Draft Joint Notice of Consent to Magistrate”; (2) “drafted … Certificate of

   Interested Parties”; (3) “filed Certificate of Interested Parties”; (4) “drafted … Notice of No

   pending, Refiled, Related or Similar Actions”; and (5) “filed Notice of No pending, Refiled,

   Related or Similar Actions.” As further example, the 0.5-hour May 20, 2016 entry21 contains 4

   distinct tasks without specifying how much time was spent on each task: (1) “review flsa order”;

   (2) “calendar deadlines to track”; (3) “draft … statement of claim”; and (4) “file statement of

   claim.” Such entries lack “sufficient particularity so that the district court can assess the time

   claimed for each activity.” Barnes, 168 F.3d at 427. In addition, Mr. Zidell demands up to 18.9

   hours22 for entries that are block-billed with non-compensable clerical tasks.         By way of

   example, Mr. Zidell demands up to 0.4 hours23 on September 27 to “calendar[] internally” Court

   deadlines; up to 0.3 hours24 on August 25 to “update” the “internal calendar”; up to 0.4 hours25




   19
      Fee Entries (Exhibit 1 hereto) at Nos. 1-6, 8, 10-12, 14-15, 18-35, 38, 42-44, 47-60, 63, 67, 70,
   72, 74, 77.
   20
      Fee Entries (Exhibit 1 hereto) at No. 27.
   21
      Fee Entries (Exhibit 1 hereto) at No. 5.
   22
      Fee Entries (Exhibit 1 hereto) at Nos. 3-6, 21-22, 26-28, 30-33, 48-50, 54, 57, 59, 63, 69-70,
   78, 80, 82, 87-88, 91, 93-94, 96-97.
   23
      Fee Entries (Exhibit 1 hereto) at No. 57.
   24
      Fee Entries (Exhibit 1 hereto) at No. 33.
   25
      Fee Entries (Exhibit 1 hereto) at No. 87.



                                                   18
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   on October 24 to “internally calendar[] … payment of monies from Defendants,” and up to 11.4

   hours26 to “file” documents with the Court.

          Mr. Zidell also bills 3.7 hours for entries that Mr. Zidell redacted and therefore cannot be

   analyzed.27 Those entries also lack “sufficient particularity so that the district court can assess

   the time claimed” and must therefore be reduced. Barnes, 168 F.3d at 427.

                          c.      24.4 hours for internal communications and redundant tasks
                                  should be reduced.28

          Mr. Zidell has not shown how 24.4 hours of interoffice communications between

   Mr. Zidell and his associates were in any way necessary.                 “Billings for ‘intraoffice

   communication between plaintiff’s multiple lawyers … are disfavored and are subject to close

   scrutiny to prevent abuse.’” Smith v. Werner Enters., No. 14-0107-WS-B, 2015 U.S. Dist.

   LEXIS 153536, at *17-18 (S.D. Ala. Nov. 13, 2015). For example, Mr. Zidell demands an

   unreasonable 2.8 hours29 to “review [defendants’ affirmative defense] with associate … [and]

   meet with associate to preparation of and review for this issue.”

          Moreover, Mr. Zidell demands 1 hour30 for “Reviewed Defendants’ written objections to

   our fee ledger produced with draft fee motion. Inter-office meeting with associate regarding

   follow up in order to attempt to resolve matter and Defendants' objections.” Not only is that time

   excessive, it is redundant to the 1-hour entry31 from Mr. Zidell’s associate on the same day for

   the exact same work: “Reviewed Defendants’ written objections to our fee ledger produced with

   26
      Fee Entries (Exhibit 1 hereto) at Nos. 3, 5-6, 8, 14-15, 27, 30-31, 69-70, 78, 80, 96 (because
   the entries are block-billed it is impossible to determine precisely how much time was spent
   filing court documents).
   27
      Fee Entries (Exhibit 1 hereto) at Nos. 46, 60, 64, 65, 72, 73.
   28
      Fee Entries (Exhibit 1 hereto) at Nos. 4, 7, 11, 16, 18-20, 23, 26, 28, 32, 33, 35, 38, 42-45, 47,
   51-57, 72-74, 81-82, 86, 98-99, 105, 108.
   29
      Fee Entries (Exhibit 1 hereto) at No. 44.
   30
      Fee Entries (Exhibit 1 hereto) at No. 98.
   31
      Fee Entries (Exhibit 1 hereto) at No. 99.



                                                    19
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   draft fee motion. Inter-office meeting with [Mr. Zidell] regarding follow up in order to attempt

   to resolve matter and Defendants’ objections.” In addition, Mr. Zidell’s associate billed 0.7

   hours to draft and file plaintiff’s meritless motion to strike [DE 50] and an additional 0.7 hours to

   draft and file the same meritless motion [DE 50] on the same date.32 Those “[r]edundant hours

   must be excluded from the reasonable hours claimed by the fee applicant.’” ACLU v. Barnes,

   168 F.3d 423, 432 (11th Cir. 1999).

          C.       Mr. Zidell’s and his associates’ billing rates are excessively high.

          Reasonable hourly rates are (1) $350/hour for Mr. Zidell; (2) $230/hour for K. David

   Kelly, Esq.; (3) $175/hour for Rivkah Jaff, Esq.; (4) $175/hour for Stephen Fox, Esq.; and

   (5) $175 for Allyson Morgado. Pursuant to Local Rule 7.3(a), defendants submit an affidavit

   regarding their fee arrangement (Exhibit 6 hereto).

          If the Court were to award Mr. Zidell any fees, such fees should be calculated as follows:

                                       Hours           Non-
        Attorney          Rate                                        Compensable      Total Amount
                                     Demanded       Compensable
    Jamie H. Zidell      $ 350.00     30.4 hrs.          9.3 hrs.33     19.1 hrs.      $      7,385.00
    K. David Kelly       $ 230.00      2 hrs.              0 hrs.        2 hrs.        $        460.00
     Rivkah Jaff /
                         $ 175.00    34.35 hrs.      13.05 hrs.34       21.3 hrs.      $      3,727.50
     Stephen Fox
   Allyson Morgado       $ 175.00      0.5 hrs.           0 hrs.         0.5 hrs.      $         87.50
        TOTAL                                                                          $    11,660.00

   After removing non-compensable hours, fees would be $11,660. The Court should apply a 90%

   across-the-board reduction for Mr. Zidell’s bad faith, limited success, block-billing, exaggerated

   fees, redacted and vague entries. Mr. Zidell’s fee award should therefore be, at most, $1,166.

   32
      Fee Entries (Exhibit 1 hereto) at Nos. 78, 80.
   33
      Fee Entries (Exhibit 1 hereto) at Nos. 2, 16, 25, 38, 41, 43, 46, 52, 60-62, 64-65, 68, 71-73, 85
   (2 hours of compensable time were added in this analysis to account for meetings with plaintiff).
   34
      Fee Entries (Exhibit 1 hereto) at Nos. 7, 12-14, 17, 29, 34, 36-37, 39, 40, 42, 47, 49, 59, 66,
   102-104, 106.



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                                        Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that a true copy of the foregoing was served by means of the Court’s
   electronic filing system on December 30, 2016, on all counsel of record or parties on the attached
   service list.

                                        BY: s/ Peter T. Mavrick
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